* Motion for rehearing denied, with $25 costs, on December 30, 1949.
Action commenced January 31, 1947, by Gertrude DeRousseau and Employers Mutual Liability Insurance Company *Page 20 
against the Chicago, St. Paul, Minneapolis  Omaha Railway Company to recover damages for the alleged wrongful death of Maurice A. Beffa.  Judgment for $8,913.89 in favor of the plaintiffs was entered on February 7, 1949.  Defendant appeals.
This case involves a collision between a truck driven by the deceased, Maurice A. Beffa, and defendant's train No. 401 at a public grade crossing on Highway 63 in the village of Baldwin, Wisconsin, on February 8, 1945, at about 8:30 p.m. Deceased was traveling north on Highway 63 which runs north and south crossing defendant's tracks which run east and west at about an eighty-five degree angle.  At the crossing there are three tracks:  On the south is a sidetrack, known as the house track; in the center is the eastbound main-line track; on the north is the westbound main-line track on which train No. 401 was traveling.  To the north of this track is a siding track which does not cross the highway. At the time of the accident a train was stopped on this siding.
To the east of the highway and south of the tracks were some buildings which would obstruct the view to the east of a northbound driver.  There was a warehouse two hundred forty-seven feet east of the crossing; an elevator alongside the house track about two hundred eighty-two feet east of the crossing; and a boxcar on the house track in front of one of the doors of the elevator.
The crossing in question is protected by automatic signals which, according to the defendant's report to the public service commission which was admitted in evidence, were operating at the time of the accident.  It is uncontradicted that the train whistle had been blown, the bell was ringing, and the lights were on.  The speed of the train was between eighty and ninety miles an hour in violation of sec. 192.29, Stats., which provides a speed limit of twenty miles an hour for *Page 21 
trains at public grade crossings, which are protected by automatic signals.
At the trial the only eyewitness to the accident was the engineer of train No. 401.  He testified that he saw the truck when he was about two hundred feet east of the crossing.  It appeared to be going about twenty or twenty-five miles an hour.  At that time the truck was, in the engineer's estimation, about seventy-five feet south of the house track.  He thought it was slowing down and would stop, but it did not.
The court found the defendant negligent as to speed because of its statutory violation.  The jury in a special verdict found this negligence of the defendant causal.  They found that the deceased was not negligent in failing to come to a full stop before driving onto the crossing as required of a private motor carrier by sec. 85.92, Stats.; that he was negligent in failing to listen for approaching trains; that such negligence was causal and was more than a slight want of ordinary care.  They assessed defendant's percentage of the negligence at seventy-five per cent and deceased's at twenty-five per cent.  They found that plaintiff Gertrude DeRousseau's damages were $9,000 for pecuniary injury and $3,000 for loss of society and companionship; the court found that the damage to defendant's equipment was $1,344.35.
On February 7, 1949, judgment was entered on the verdict for $8,913.89.  Defendant appeals, urging that it is entitled to a judgment dismissing the complaint or that a new trial should be granted because of prejudicial remarks by plaintiff's attorney to the jury.
On appeal the defendant contends that as a matter of law the excessive speed of the train, which was traveling eighty to ninety miles an hour, was not a cause of the accident.  The jury found that such speed was causal and *Page 22 
the trial court has upheld that finding.  Ruling on motions after verdict, he said:
"The engineer testified that when he was approaching two hundred feet east of the crossing he saw the lights of the truck approaching from the south along the highway. He fixed the distance of the truck from the south track at seventy-five feet when he first observed it, and its speed at twenty to twenty-five miles per hour. . . .
"Is this a sufficient distance within which to permit the deceased to judge the speed of the train and make a timely and adequate appraisal of the situation?  At twenty miles per hour, it would be, but at eighty to eighty-five miles per hour, it is a proper question for the jury as to whether or not the speed was a cause of the collision."
Defendant claims that this reasoning of the trial court is wrong.  He bases his argument on the fact that the trial court assumed that, since the engineer of the train could not see the truck because of obstructions until he was two hundred feet from the crossing and deceased seventy-five feet away from the south track, deceased could not have seen the train until the same time because of the same obstructions. Defendant points out that at certain distances there were different opportunities for observation:  At one hundred seventy-seven feet from the westbound main-line track, the deceased Could have seen two hundred one feet up the track; at one hundred twenty-five feet he could have seen three hundred feet; and at seventy-five feet he could have seen four hundred feet.  That this argument does not take into consideration all the evidence is readily apparent.  Although deceased might have been able to see two hundred one feet up the track when he was one hundred seventy-seven feet away, he could not have seen the train because it was much farther away.  Its engineer testified that he saw the truck when it was seventy-five feet from the track and, at that time, the train was approximately two hundred feet from the crossing.  Therefore, even when deceased was one hundred *Page 23 
twenty-five feet away and could see three hundred feet up the track, the train, which was traveling at a speed approximately three times as great as the truck, was not in view because of the obstructions.
Defendant further contends that because the train had given warning of its approach its illegal speed could not be causal because the deceased had an absolute duty to look and listen.  Keegan v. Chicago, M., St. P.  P. R. Co.
(1947), 251 Wis. 7, 27 N.W.2d 739; Bellrichard v.Chicago  N.W. R. Co. (1945), 247 Wis. 569,20 N.W.2d 710; Waitkus v. Chicago  N.W. R. Co. (1931),204 Wis. 566, 236 N.W. 531, 237 N.W. 259; Clemons v.Chicago, St. P., M.  O. R. Co. (1909), 137 Wis. 387,119 N.W. 102.  While speed standing alone cannot be the cause of a crossing accident, such speed can be the cause in combination with other circumstances.  Bellrichard v. ChicagoR. Co., supra, and cases cited therein.  There is evidence of the unlawful speed at which the train was traveling. It was moving about three times as fast as the deceased in his truck was traveling.  There is also evidence that certain buildings obstructed the view for some distance of the track on which the train was approaching.  As there is to be a new trial we will not recite the evidence or do more by way of comment than to say that, at the points of observation, a train coming at a lawful rate of speed would not interfere with or prevent an adequate calculation by the traveler on the highway of the speed of the train.  In Reinke v. Chicago, M. St.P. R. Co. (1947), 252 Wis. 1, 7, 30 N.W.2d 201, it was said:
"A traveler approaching a crossing can gauge the speed of a train and make observations for his own safety if the train is traveling at a reasonable rate of speed, but to require him to do so when trains are traveling at the rate of speed that many of them do at this time, especially at village and city intersections, places an extreme burden on the traveler if we *Page 24 
are going to follow defendant's contention that an adequate warning of the approach of a train relieves the railroad company from responsibility as to speed even though it be in violation of the law."
Because of the speed and obstructions it is considered that a jury question existed as to the causal connection between the excessive speed of the train and the accident.
This case is to be distinguished from that of Riley v. Chicago N.W. R. Co. (1949), 255 Wis. 172,38 N.W.2d 522, in which no serious obstructions to the driver's view existed and in which the credible testimony placed the train's speed at half that of the train in this case.
Defendant's next claim is that the negligence of deceased was as great or greater than the negligence of defendant. The jury found deceased guilty of more than a slight want of ordinary care.  Certainly deceased was guilty of negligence. On this state of facts the question of proportional contribution was a close one and therefore within the competency of the jury to determine.  It is considered that under the evidence in the record it may not be held as a matter of law which was the greater contributor.  The situation leaves to the jury's determination, after a fair trial, the proper proportions of negligence to be assessed against each.
However, a serious and controlling question arises because the apportionment of negligence by the jury should have been arrived at from a consideration of the evidence free from passion and prejudice caused by improper argument of counsel for plaintiff.
In his statement to the jury at the close of the testimony, counsel for plaintiff indulged in remarks, which are within the rule that an improper appeal to prejudice because of the wealth of a party or because it is a corporation or a corporation of a particular class is a sufficient ground for a new trial. 39 Am. Jur., New Trial, p. 74, sec. 57. *Page 25 
All that was said is not preserved, but from the statements, objections, and rulings by the court it sufficiently appears that counsel made some reference to the fact that the crew of the train on the siding next to the westbound track were not among the witnesses.  It does appear that the only eyewitness to the collision who testified was the engineer running train No. 401.  The effect of that and other statements will appear from the following brief recital quoted from the record:
"Mr. Cameron . . . sums up the case to the jury.
"Mr. Doar:  I object to counsel's inquiring what happened to the crew of `401.'  There isn't any evidence in the case that they knew anything about it at all.
"The Court:  The jury is instructed at this time that the case is to be decided solely on the evidence as they recall it and that statements of counsel which they find in contradiction with the evidence are to be disregarded.
"Mr. Cameron:  I think a poor man with a poor lawyer is entitled to the same kind of justice as the man that has got the money or the ability to hire a good lawyer.  I don't think the lawyers have anything to do with it.
"Mr. Doar:  We object to that statement.
"The Court:  The jury are instructed that the respective counsel are not on trial and have nothing to do with the case except to present the case to you and no feeling of sympathy or prejudice that you may have for the respective counsel is to be allowed to influence you in any way in deciding the case.
"Mr. Cameron:  If I drive a car down the streets of Baldwin at ninety (90) miles an hour, I am going to be defending a murder case.
"The Court:  The jury is instructed to disregard that reference to a murder charge.
"Mr. Cameron:  If I drive my car down the streets of Baldwin at ninety (90) miles an hour and run into and kill a man, what is going to happen?
"Mr. Doar:  We object to that statement as prejudicial.
"The Court:  Overruled."
The jury was then excused until the following morning when the case was submitted to it. *Page 26 
A fair result depended upon the jury approaching their decision without being stirred by improper argument tending only to arouse their passion and prejudice.  There was a strong suggestion of defendant's wealth, of negligent acts amounting to murder, which only could have been calculated to distract the jury's attention from the real issue of injury resulting from failure to exercise ordinary care.  It is not possible for us to calculate the exact influence these statements had on the jury.  In the first two instances the judge instructed the jury, but none too vigorously, to disregard the statements; as to the last remark, which was in effect a comprehensive reminder of all that had been said, the court overruled the objection to it.  We are convinced that the language of counsel was an appeal to the prejudice of a jury and that, under the rules governing, it is our duty to order a new trial.  Georgeson v. Nielsen (1935), 218 Wis. 180,260 N.W. 461; Rissling v. Milwaukee E. R.  L. Co.
(1931), 203 Wis. 554, 234 N.W. 879; Corti v. Cooney
(1926), 191 Wis. 464, 211 N.W. 274; Hall v. Rice (1929),117 Neb. 813, 223 N.W. 4; 39 Am. Jur., supra.
At this point a quotation from Horgen v. Chaseburg StateBank (1938), 227 Wis. 510, 279 N.W. 33, in which a new trial was granted because of prejudicial remarks of counsel, is pertinent.  At page 517 it is said:
"Granting of new trials is not encouraged, and there are many cases where counsel have overstepped the bounds of propriety and new trials have not been granted.  These cases are cited by plaintiff in his brief, and we have considered them.  They are consistent with the rule here applied.  Language in the opinions does no more than point out instances which may be recognized as not requiring the application of the rule.  See Kiekhofer v. Hidershide, 113 Wis. 280, 291; 89 N.W. 189.
"An early discussion of the rule is found in Brown v.Swineford, 44 Wis. 282, 293.  It was there held error sufficient to reverse a judgment for counsel against objection to *Page 27 
state facts pertinent to the issue but not in evidence, or to assume arguendo such facts to be in the case when they were not, and also to impute facts not pertinent to the issue, but calculated to prejudice the case.  The rule was considered and applied in Green v. Ashland Water Co. 101 Wis. 258,77 N.W. 722; Corti v. Cooney, 191 Wis. 464,211 N.W. 274.  In the Brown Case Mr. Chief Justice RYAN said:
"`The profession of the law is instituted for the administration of justice.  The duties of the bench and bar differ in kind, not in purpose.  The duty of both alike is to establish the truth and to apply the law to it.  It is essential to the proper administration of justice, frail and uncertain at the best, that all that can be said for each party, in the determination of fact and law, should be heard.  Forensic strife is but a method, and a mighty one, to ascertain the truth and the law governing the truth. . . .  The very fullest freedom of speech within the duty of his profession should be accorded to counsel; but it is license, not freedom of speech, to travel out of the record, basing his argument on facts not appearing, and appealing to prejudices irrelevant to the case and outside of the proof.  It may sometimes be a very difficult and delicate duty to confine counsel to a legitimate course of argument. But, like other difficult and delicate duties, it must be performed by those upon whom the law imposes it.  It is the duty of the circuit courts, in jury trials. to interfere in all proper cases of their own motion.  This is due to truth and justice. And if counsel persevere in arguing upon pertinent facts not before the jury, or appealing to prejudices foreign to the case in evidence, exception may be taken by the other side, which may be good ground for a new trial, or for a reversal in this court.'
"In certain cases such as Lehner v. Chicago, M., St. P. P. R. Co. 204 Wis. 558, 236 N.W. 572, where the appeal to prejudice was in the nature of eloquent exaggeration of the evidence, the remarks were not considered prejudicial to a degree requiring a reversal; the verdict on the main issue being amply supported by the evidence.  In such cases asNeumeister v. Goddard, 133 Wis. 405, 113 N.W. 733, where this court felt that more vigorous action on the part of the trial court should have occurred, we deferred to the judgment of the trial judge in holding the error not prejudicial, *Page 28 
but in the case now before us, the probabilities of either side being right are so nearly equal that the unwarranted insinuations of counsel resulted in a prejudice against defendant which may have affected the outcome.  We think that it was an abuse of discretion on the part of the trial judge not to grant a new trial."
By the Court. — Judgment reversed.  Cause remanded with directions to grant a new trial.
BROADFOOT, J., dissents.